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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS

JANSSEN BIOTECH, INC.,                                 )
                                                       )
                                Plaintiff,             )
                                                       )    Civil Action No. l:17-cv-11008-MLW
                         v.                            )
                                                       )
CELLTRION HEALTHCARE CO., LTD.,                        )
CELLTRION, INC., and                                   )
HOSPIRA, INC.,                                         )
                                                       )
                                Defendants.            )
                                                       )
                                                       )


                    ASSENTED- TO MOTION FOR ADMISSION PRO HAC VICE
                   OF ELIZABETH CUTRI, BRYAN S. HALES, JAMES F. HURST,
                          JAMES H. MCCONNELL, AND RYAN KANE

         Defendants Celltrion Healthcare Co., Ltd, Celltrion, Inc. and Hospira, Inc.in this action

(collectively “Defendants”), by and through Burns & Levinson, LLP, 125 Summer Street,

Boston, Massachusetts, move that the following counsel be admitted pro hac vice in the above

case:

                   1.    Elizabeth Cutri – Kirkland & Ellis LLP, Chicago, Illinois

                   2.    Bryan S. Hales – Kirkland & Ellis LLP, Chicago, Illinois

                   3.    James F. Hurst – Kirkland & Ellis LLP, Chicago, Illinois

                   4.    James H. McConnell – Kirkland & Ellis LLP, New York, New York

                   5.    Ryan Kane - Kirkland & Ellis LLP, New York, New York

         Pursuant to Local Rule 83.5.3, this motion is accompanied by the Certificates of each of

the above-named counsel.




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         Plaintiff assents to the filing of this Motion.

Dated: August 1, 2017                             Respectfully submitted,

                                                  Celltrion Healthcare Co., Ltd., Celltrion, Inc.,
                                                  and Hospira, Inc.

                                                  By their attorneys,

                                                  /s/Andrea L. Martin
                                                  Dennis J. Kelly (BBO # 266340)
                                                  dkelly@burnslev.com
                                                  Andrea L. Martin (BBO #666117)
                                                  amartin@burnslev.com
                                                  BURNS & LEVINSON LLP
                                                  125 Summer Street
                                                  Boston, MA 02110-1624
                                                  Telephone: 617-345-3000
                                                  Facsimile: 617-345-3299



                                       LR 7.1(a)(2) CERTIFICATION

        I, Andrea L. Martin, hereby certify that Defendants’ counsel has conferred with
Plaintiff’s counsel concerning the relief requested in this motion. Plaintiff’s counsel has stated
that Plaintiff assents to the motion.

                                                 /s/Andrea L. Martin, Esq.
                                                 Andrea L. Martin, Esq.


                                   CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
on August 1, 2017.

                                                           /s/Andrea L. Martin
                                                           Andrea Martin, Esquire
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